      Case 20-50463             Doc 105       Filed 07/06/21 Entered 07/06/21 08:37:11                      Desc Notice of
                                               Defective Filing Page 1 of 1

                                           UNITED STATES BANKRUPTCY COURT
                                              Western District of North Carolina
                                                     Statesville Division

                                                         Case No. 20−50463
                                                             Chapter 11




In Re: Debtor(s) (name(s) used in the last 8 years, including married, maiden, trade, and address):
      Custom Design Group, LLC
          fdba Active Energy Custom Brands and Outlet, LLC
       391 10th Avenue Dr. NE
       Hickory, NC 28602
       Social Security No.:
       Debtor EIN:
       47−3172451




                         NOTICE OF DEFECTIVE ENTRY OR FILING

NOTICE IS HEREBY GIVEN that the Amended Document filed in the above referenced case on 07/02/2021 as
document # 104 is defective for the reason(s) marked below:


         The document was not docketed using the correct event.This document does not need to be re−docketed, but
         in the future please use the correct event, which is located:
         Bankruptcy/Other/Plan/check as amended



PLEASE TAKE NOTICE that this should be corrected immediately to allow for timely processing of the
case/proceeding.



Dated: July 6, 2021                                                                          Steven T. Salata
                                                                                             Clerk of Court


Electronically filed and signed (7/6/21)
